Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 1 of 16 PageID #: 84731




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
____________________________________  :
In re:                                :
                                      :
MALLINCKRODT PLC, et al.,             :
                                      :
_____________________________________ :
                                      :
sanofi-aventis U.S. LLC               : Civil Action No. 22-216-LPS
                                      :
                        Appellant,    :
                                      : Bankruptcy Case No. 20-12522
MALLINCKRODT plc,                     : Bankruptcy BAP No. 22-09
                                      :
                        Appellee.     :

____________________________________



                     THE OFFICIAL COMMITTEE OF UNSECURED
                       CREDITORS’ MOTION TO INTERVENE

       The Official Committee of Unsecured Creditors of Mallinckrodt plc and its affiliated

debtors (the “UCC”) appointed in the chapter 11 bankruptcy cases (the “Chapter 11 Cases”) of

the above-captioned debtors and debtors in possession (the “Debtors”) files this motion (the

“Motion”) for an order granting the UCC leave to intervene in the above-captioned appeal (the

“Appeal”) filed by sanofi-aventis U.S. LLC (“Sanofi”) of the Opinion [D.I. 6347] and Revised

Opinion [D.I. 6378] entered on February 3, 2022 and February 8, 2022, respectively (together, the

“Opinion”), and the Findings of Fact, Conclusions of Law, and Order Confirming Fourth

Amended Joint Plan of Reorganization (with Technical Modifications) of Mallinckrodt PLC and

Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [D.I. 6660] entered on March 2,

2022 (the “Confirmation Order”), entered by the United States Bankruptcy Court for the District
Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 2 of 16 PageID #: 84732




of Delaware (the “Bankruptcy Court”), Rule 8013(g) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”).

                                    PRELIMINARY STATEMENT

           1.     Sanofi’s Appeal squarely targets the settlement and allocation (the “UCC

    Settlement and the “UCC Allocation”) that were brokered by the UCC and embodied in the

    Fourth Amended Joint Plan of Reorganization of Mallinckrodt PLC and Its Debtor Affiliates

    Under Chapter 11 of the Bankruptcy Code (the “Amended Plan”).            Speaking on the UCC

    Settlement and UCC Allocation in the Opinion, the Bankruptcy Court found that they were

    “integral to the ability of the Debtors to reach a consensus with various creditor constituencies

    and confirm a plan that provides recoveries to all classes of creditors.”1 The UCC has a direct

    and substantial stake in the outcome of this Appeal and the Motion should be granted.

           2.     The UCC, as an estate fiduciary with express statutory authority to appear and be

    heard on “any issue,”2 has actively participated in the Chapter 11 Cases since its formation in

    October 2020. This active participation has included formulating and consummating the UCC

    Settlement and UCC Allocation; partaking in preconfirmation plan discovery, presenting

    “extensive evidence”3 in support of the UCC Settlement and UCC Allocation during the

    confirmation hearing—including a lengthy and effective cross-examination of Sanofi’s expert

    witness—and challenging Sanofi’s legal theories and factual arguments in papers filed with the

    Bankruptcy Court and during closing arguments.

          3.      Despite the UCC’s conspicuous role in the heavily contested confirmation hearing,

including successfully defending Sanofi’s unbridled attack on the UCC Settlement and the UCC



1
  See Docket 6378 at 88-89, n 218, Appendix 1.
2
  See 11 U.S.C. § 1109(b).
3
  See Note 1, supra.

                                                   2
Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 3 of 16 PageID #: 84733




Allocation, Sanofi failed to name the UCC as an appellee. An adverse ruling from this Court

regarding the Order would prejudice the rights of the UCC and its constituents, cause delays in

substantially consummating the Amended Plan, and potentially impair the UCC Settlement, as

discussed further below. For those reasons as well as others set forth below, the UCC respectfully

requests that the Court grant the UCC leave to intervene in this appeal so that it can protect the

significant economic interest of the General Unsecured Creditors the UCC represents.

                                              BACKGROUND

A.      The Chapter 11 Cases and Restructuring Support Agreement

        4.       On October 12, 2020 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code. The cases were brought by Mallinckrodt plc

and its multiple subsidiaries – in all, 64 separate debtor entities within the Mallinckrodt family of

companies.

        5.       On October 14, 2020, the Court entered an order authorizing the joint

administration of the cases for procedural purposes only. The Chapter 11 Cases were not

substantively consolidated and thus they represent 64 separate cases that are being administered

simultaneously.4 The Debtors continue to operate their businesses as debtors in possession.

        6.       The Debtors filed the Chapter 11 Cases to address enterprise-threatening litigation.

Prior to the Petition Date, the Debtors were faced with an “all-consuming tidal wave of litigation

concerning the production and sales of . . . opioid products” that included over 3,034 cases in 50

states brought by governmental and private plaintiffs.5 While the Debtors said they believed they

had “many strong defenses to the opioid plaintiffs’ claims,” they nonetheless determined that the


4
  See Fourth Amended Joint Plan of Reorganization (With Technical Modifications) of Mallinckrodt plc and its Debtor
Affiliates Under Chapter 11 of the Bankruptcy Code [Bankr. D.I. 6510], at Art. IV.FF.
5
  See Declaration of Stephen A. Welch, Chief Transformation Officer, in Support of Chapter 11 Petitions and First
Day Motions [Bankr. D.I. 128] (the “First Day Declaration”), ¶ 76.

                                                        3
Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 4 of 16 PageID #: 84734




“vast costs of litigating these suits in hundreds of state and federal courts over decades to come is

simply not sustainable” given they faced “hundreds of millions of dollars of litigation expense,”

potential billion-dollar judgments, and ruinous financial and operational consequences.6 Thus,

through these Chapter 11 Cases, the Debtors sought to negotiate a comprehensive settlement with

the various organized groups of opioid plaintiffs.7

        7.       The Debtors also faced significant litigation and regulatory threats with respect to

sales of Acthar. Acthar comprised over 30% of the Debtors’ revenue for FY20198 and the Debtors

have indicated that the success of the reorganization remains dependent on their ability to continue

marketing and selling Acthar.

        8.       One day before the Petition Date, the Debtors entered into a Restructuring Support

Agreement (the “RSA”) with (i) 50 Attorneys General of states, Washington, D.C., and U.S

territories with respect to their opioid claims; (ii) the members of the plaintiffs’ executive

committee in national multidistrict opioid litigation who largely represented states, local

governments and tribal governments; and (iii) holders of more than 84 percent of the Debtors’

guaranteed unsecured notes.

B.      The Debtors’ Non-Opioid General Unsecured Creditors

        9.       The Debtors’ first day filings also described Mallinckrodt’s general unsecured

creditors, who were not parties to the RSA. The claims of the General Unsecured Creditors9are

unusually diverse – the result, in part, of the Debtors’ multiple business segments and their highly

complex corporate structure. The First Day Declaration disclosed that these General Unsecured




6
  See id., ¶¶ 82, 91.
7
  See id., ¶¶ 92-93.
8
  See id., ¶ 37.
9
  The “General Unsecured Creditors” are the Holders of General Unsecured Claims and include unsecured creditors
other than opioid creditors and guaranteed unsecured noteholders.

                                                      4
Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 5 of 16 PageID #: 84735




Creditors include: (i) unsecured, funded debt claims; (ii) litigation claims, including claims arising

from the sale of Acthar, generics price fixing claims, and asbestos claims; and (iii) other general

unsecured claims, including certain trade claims.10

        10.      From across these three broad categories of General Unsecured Creditors, the

Office of the United States Trustee for Region 3 (the “U.S. Trustee”) appointed the following four

members of the UCC pursuant to pursuant to Bankruptcy Code section 1102(a)(1): (i) Acument

Global Technologies, Inc., which holds claims arising out of the Debtors’ sale of Acthar;

(ii) Commodore Bowens, Jr., as Administrator for the Estate of Commodore Bowens, which holds

claims for asbestos-related injuries arising out of the Debtors’ legacy operations; (iii) U.S. Bank

Trust National Association, which serves as the trustee for two types of unsecured debt, (a) 4.75%

unsecured notes due April 2023 that were issued by Mallinckrodt International Finance, S.A., and

guaranteed only by Mallinckrodt plc, and (b) 8.00% and 9.50% legacy debentures due March 2022

and March 2023 that were issued by a predecessor to Ludlow LLC and not guaranteed by any

Debtor; and (iv) AFSCME District Council 47 Health and Welfare Fund, which holds claims

arising out of the Debtors’ pricing and sale of generics products as well as claims arising out of

the Debtors’ sale of Acthar.11

        11.      As discussed in greater detail below, these members have been actively engaged in

all aspects of the Chapter 11 Cases, including participating in weekly calls with their legal and

financial advisors since shortly after the UCC was organized.




10
  The General Unsecured Creditors hold claims against many different Debtor entities [Bankr. D.I. 306].
11
   When originally appointed, the UCC also included New PharmaTop LP. Following the closing of the Debtors’
restructuring transaction concerning certain intellectual property, through which any general unsecured claim of New
PharmaTop LP was paid in full and its contract assigned through the transaction, New PharmaTop LP resigned from
the UCC. See Order Authorizing Intercompany Restructuring Transactions [Bankr. D.I. 633].

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Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 6 of 16 PageID #: 84736




C.          The Initial Plan and UCC’s Preliminary Objection

            12.       On April 20, 2021, and long before Sanofi became actively involved in the Chapter

11 Cases, the Debtors filed their Joint Chapter 11 Plan of Reorganization of Mallinckrodt plc and

Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Bankr. D.I. 2074] (together with

all schedules and exhibits thereto, the “Initial Plan”). The Initial Plan, like the RSA, proposed to

allocate $100 million to a single class of “General Unsecured Claims (Not Otherwise Classified)”

creditors (“Class 6 Creditors”) without recognizing the highly diverse nature of the claims held

by the Class 6 Creditors or the 64 different Debtor entities that could be liable to the Class 6

Creditors.12         Although the Initial Plan alluded to a distribution mechanism that would allocate

portions of the consideration to individual Debtor entities, it did not disclose what the mechanism

would be.13 This made it impossible for Class 6 Creditors to properly evaluate proposed recoveries

under the Initial Plan.

            13.       On May 18, 2021, the UCC filed its preliminary objection to the Debtors’ motion

to approve the disclosure statement with respect to the Initial Plan [Bankr. D.I. 2392] (the

“Preliminary Objection”), alleging that: (i) the pool of $100 million for Class 6 Creditors was

insufficient as compared to the higher recoveries proposed to be provided to other classes of

unsecured creditors, and (2) the amounts of the proposed distributions to Class 6 Creditors were

impossible to determine.

D.          The Revised Plan and the UCC’s Supplemental Objections

            14.       On June 8, 2021, the Debtors filed a revised plan [Bankr. D.I. 2767] (the “Revised

Plan”) and revised disclosure statement [Bankr. D.I. 2769] the (“Revised Disclosure

Statement”). The Revised Plan reclassified claims held by Class 6 Creditors from a single class


12
     See Initial Plan at Art. III.A.
13
     See id., at Art. I.A.110, Art. III.B.6.

                                                      6
Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 7 of 16 PageID #: 84737




into six subclasses: Class 6(a) (Acthar Claims); Class 6(b) (Generics Price Fixing Claims); Class

6(c) (Asbestos Claims); Class 6(d) (Legacy Unsecured Notes Claims, which included the 4.75%

Unsecured Notes Claims); Class 6(e) (Environmental Claims); and Class 6(f) (Other General

Unsecured Claims).14

        15.      Like the Initial Plan, the Revised Plan offered $100 million (in cash and/or equity,

at the Debtors’ discretion) to satisfy all claims held by Class 6 Creditors. However, unlike the

Initial Plan, which contemplated allocating the $100 million on a debtor-by-debtor basis, the

Revised Plan proposed to allocate the $100 million of value to each subclass based on the size of

the allowed claims. This proposal would have deferred distribution of funds until all of the Class

6 claims were reconciled and did not address the fact that the subclasses held claims against

different Debtor entities.

        16.      On June 14, 2021, the UCC filed a Supplemental Objection to the Revised

Disclosure Statement [Bankr. D.I. 2852] (the “Supplemental Objection”), renewing certain

objections in its Preliminary Objection and maintaining that (a) the $100 million distribution to

Class Six Creditors was insufficient and (b) although the Revised Plan now separated Class 6

Creditors into separate subclasses, it nonetheless improperly consolidated those creditors for

distribution purposes without taking into account the 64 Debtor entities at which each Class 6

Creditor held a claim.

E.      The UCC Settlement, UCC Allocation, and the Amended Plan

        17.      Running parallel with Revised Plan challenges, the UCC began participating in a

months-long mediation with the Debtors and other key creditor constituencies15 before the


14
  See Revised Plan at Art. III.B.6.
15
  In addition to the UCC and the Debtors, the mediation parties included (i) the ad hoc group of guaranteed
unsecured noteholders whose consent was required under the RSA for any settlement that would increase the
amount of consideration available to General Unsecured Creditors; (ii) certain members of the UCC; (iii) Attestor

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Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 8 of 16 PageID #: 84738




Honorable Bankruptcy Judge Christopher S. Sontchi. The mediation continued throughout the

summer and addressed a variety of complex, interrelated issues, including, among others: (i) the

Debtors’ total enterprise value (“TEV”); (ii) the TEV percentage that should be available for

distribution to Class 6 Creditors; (iii) the Class 6 Creditor claim reconciliation process, particularly

with regard to the reconciliation of Acthar claims; and (iv) the allocation of settlement

consideration among the Class 6 Creditor subclasses.

        18.      The mediation culminated in the UCC Settlement and the UCC Allocation. The

UCC Settlement had two principal monetary components: cash consideration—which had

increased from $100 million to $135 million—that would be paid into a General Unsecured

Creditors Trust (the “GUC Trust”) (with a portion of the settlement consideration being separately

directed to a qualified settlement fund for the benefit of asbestos claimants) on the Effective Date

of the Amended Plan, plus additional assets that would increase the total amount available to Class

Six Creditors by an additional estimated $45 million to $85 million.

        19.      Inextricably linked to the settlement consideration embodied in the UCC Settlement

was the UCC Allocation: the process by which settlement consideration would be allocated among

the Class 6 Creditor subclasses. The UCC Allocation took, as a starting point, certain financial

modeling of theoretical recoveries to each subclass, completed by the UCC’s financial

professionals (the “UCC Waterfall”) and then adjusted theoretical recoveries (or opted not to

adjust) recoveries based on a range of factors, including: (i) the liquidated or unliquidated,

contingent or noncontingent, and disputed or undisputed nature of the claims; (ii) the Debtor entity

or entities the Class 6 Creditor claims were asserted against; (iii) the estimated relative value



Limited, an investor in litigation against the Debtors that had purchased interests in certain Acthar claims of
insurance companies or pharmacies; (iv) the Ad Hoc Acthar Group, which consists of holders of third party payor
Acthar claims; and (v) Aurelius Capital Management LP, a significant individual holder of 4.75% Unsecured Note
Claims.

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Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 9 of 16 PageID #: 84739




available at such entities; (iv) the sources of recovery for a particular subclass (including, for

example, insurance as to which that subclass might have a particularly strong claim); and (v) the

willingness of a subclass to accept a fixed recovery and to forgo potential “upside” from the

proceeds of the non-cash assets. Based on these considerations, the UCC Settlement and UCC

Allocation provided for initial cash distributions to all Class 6 Creditor subclasses, some of which

are subject to claim reconciliation, and provides certain subclasses with further distributions based

on the cash proceeds generated from the monetization of non-cash assets vested in the GUC Trust,

also subject to claim reconciliation.

        20.      Following the UCC’s approval of the UCC Settlement and UCC Allocation, the

Debtors and the UCC worked to incorporate the terms of the UCC Settlement into the Amended

Plan, which the Debtors filed on September 29, 2021 [Bankr. D.I. 4508].

F.      Confirmation of the Amended Plan

        21.      Given the complexity and breadth of the issues to be addressed at confirmation, the

hearing on confirmation of the Amended Plan was divided into two phases: Phase I focused on

issues related to: valuation, notice and voting, the make-whole and cramdown dispute, and other

issues addressed by the declarations of certain experts proffered by the Debtors in support of the

Plan;16 Phase II focused on issues related to, among other things, the development and negotiation

of the Amended Plan and the UCC Settlement and UCC Allocation.17

        22.      Phase I of the Confirmation Hearing began on November 1, 2021, and ran five days

to completion, at which point the Bankruptcy Court pivoted to addressing issues raised by certain

Acthar claimants with respect to the nature and priority of their claims. Phase II then commenced



16
  See Final Pretrial Order for Phase I of the Plan Confirmation Hearing, D.I. 5510 at 6-7.
17
  See Corrected Third Amended Proposed Final Pretrial Order for Phase II of the Plan Confirmation Hearing, D.I.
5555 at 6-7.

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Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 10 of 16 PageID #: 84740




on December 6, 2021, and continued for 10 days, after which, beginning on January 3, 2022, the

Bankruptcy Court heard three days of closing arguments. All parties to the proceedings, including

Sanofi, were given the opportunity to fully participate, as appropriate, at each stage of both phases

of the confirmation proceedings.

          23.   While testimony given by certain of the Debtors’ witnesses during Phase II supports

the UCC Settlement and UCC Allocation, the UCC also called four of its own witnesses offering

fact and expert testimony with respect to the analysis underlying the UCC’s decision to enter into

the UCC Settlement and in support of the various assumptions underlying the UCC Allocation.

This testimony was supported by numerous exhibits entered into the record by both the Debtors

and UCC over the course of the trial. All parties to the proceedings, including Sanofi, were given

the opportunity to cross examine each of these witnesses. Furthermore, Sanofi called its own

expert witness, John P. Madden, to testify as to what Sanofi asserted were flaws in the UCC

Waterfall and UCC Allocation, who was cross-examined by the UCC.

          24.   For the reasons meticulously detailed in the Bankruptcy Court’s 103-page Opinion,

the Bankruptcy Court found that the Plan, of which the UCC Settlement and the UCC Allocation

were key elements, met the requirements of section 1129 of the Bankruptcy Code. Sanofi’s

objections to the Amended Plan were overruled.

G.        The Appeal

          25.   On February 17, 2022, Sanofi filed a Notice of Appeal and Statement of Election

[Case No. 20-12522, Bankr. D.I. 6489] (the “Notice of Appeal”) in the Bankruptcy Court.

According to the Statement Of Issues On Appeal [Docket No. 6676] (the “Statement of Issues”)

that Sanofi filed in the Appeal, Sanofi’s target is the UCC Settlement and the UCC Allocation,

asking:



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Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 11 of 16 PageID #: 84741




               Whether the Bankruptcy Court erred by confirming the Joint Plan
               over the objection and rejection by creditors in Class 6(f) of MP
               Ireland, by approving the Initial Fixed Distribution, which (a)
               violates the “absolute priority rule” embodied in section
               1129(b)(2)(B)(ii) of the Bankruptcy Code and (b) and unfairly
               discriminates in violation of section 1129(b)(1) of the Bankruptcy
               Code, including by failing to require an appropriate disputed claims
               reserve and by improperly concluding that the settlement proceeds
               constitutes a “gift” of anticipated reorganization securities from
               another class of unsecured creditors.

         26.   The Notice of Appeal failed to list the UCC as an interested party. In addition,

Sanofi soon after filed a motion for stay pending appeal of the Confirmation Order [Bankr. D.I.

6685] (the “Motion for Stay”) and a motion for certification of direct appeal to the Third Circuit

Court of Appeals [Bankr. D.I. 6686] (the “Motion for Certification”).

         27.   On February 18, 2022, the Notice of Appeal was docketed in this Court. See Docket

No. 2.

         28.   The UCC filed its objections to the Motion for Certification and Motion for Stay

on March 17, 2022 [Bankr. D.I. 6809 and 6812, respectively].

         29.   The hearing on the Motion for Stay and Motion for Certification is currently

scheduled to occur on March 24, 2022.

                                     RELIEF REQUESTED

         30.   By this Motion, the UCC seeks leave of the Court to intervene in the above-

captioned bankruptcy appeal.

                                          ARGUMENT

         31.   Bankruptcy Rule 8013(g) governs motions for intervention filed by interested

parties in bankruptcy appeals, providing in pertinent part that:

               [An intervening party] must move to intervene… within 30 days after the appeal is
               docketed. [The Motion] must concisely state the movant’s interest, the grounds for
               intervention, whether intervention was sought in the bankruptcy court, why


                                                 11
Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 12 of 16 PageID #: 84742




                  intervention is being sought at this stage of the proceeding, and why participating
                  as an amicus curiae would not be adequate.

Fed. R. Bankr. P. 8013(g); see also Official Committee of Unsecured Creditors v. Constellation

Enterprises LLC (In re: Constellation Enterprises LLC), 587 B.R. 275, 285 (D. Del. 2018)

(outlining the legal standards for intervention under Bankruptcy Rule 8013(g)). As set forth below,

the UCC satisfies each of these criteria.

         32.      Filing Within 30 Days. The Notice of Appeal was docketed with this Court on

February 18, 2022. Accordingly, this Motion has been filed within 30 days of the docketing of the

appeal and is therefore timely under Bankruptcy Rule 8013(g).18

         33.      Movant’s Interest. The UCC has an important interest in the Appeal. The UCC is

an estate fiduciary, duly appointed by the Office of the United States Trustee pursuant to

Bankruptcy Code section 1102(a)(1), to act for the benefit and on behalf of General Unsecured

Creditors.19 The UCC was also the architect of the UCC Settlement and UCC Allocation, both of

which were “integral to the ability of the Debtors to reach a consensus with various creditor

constituencies and confirm a plan that provides recoveries to all classes of creditors.”20 Despite

this, Sanofi, for reasons we cannot discern, omitted naming the UCC in its appeal, which attacks

the UCC Settlement and UCC Allocation and seeks to reverse confirmation based on the UCC

Settlement and UCC Allocation.21




18
   While March 20, 2022, a Sunday, was the thirtieth day from the filing of the Appeal, Fed. R. Civ. P. 6(a)(1)(c)
extends the time by which this Motion must be filed to the next business day, Monday, March 21, 2022.
19
   In addition to Class 6 Creditors, the UCC represents trade creditors classified in Class 7. The Fourth Amended
Plan proposes paying Class 7 creditors 100% of their prepetition claims and Class 7 treatment to the extent such
Class 7 creditor voted to accept the Plan. Those that voted to reject the Plan, will be represented as Class 6
Creditors.
20
   See Docket 6378 at 88-89, n 218, Appendix 1.
21
   See Sanofi’s Statement of Issues on Appeal [Bankr. D.I. 6676], Motion of sanofi-aventis U.S. LLC for
Certification of Direct Appeal Under 28 U.S.C> § 158(d)(2) [Bankr. D.I. 6686 at ¶¶ 3-4], and Motion for Stay
Pending Appeal [Bankr. D.I. 6685 at ¶¶ 5-7].

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Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 13 of 16 PageID #: 84743




       34.     The UCC must be permitted to participate on appeal and represent the interests of

General Unsecured Creditors with respect to the UCC Settlement and UCC Allocation, just as it

participated in the bankruptcy proceedings in advancing and introducing evidence to show that

Sanofi’s positions have no merit. Absent intervention, the UCC is unable to ensure that the legal

arguments and evidence it introduced at Phase II of the Confirmation Hearing will be advanced at

the appellate stage of the proceeding, including critical testimony and documentary evidence

regarding the UCC Settlement and UCC Allocation, into which the UCC has unique insight.

Further, the UCC must be permitted to intervene to ensure its participation in any potential

settlement discussions that may affect the UCC Settlement and UCC Allocation.

       35.     Grounds for Intervention. No other party in interest, including the Debtors, can

adequately represent the UCC’s interests in connection with the Appeal, including defending the

UCC Settlement and UCC Allocation. While the UCC fully supports the Debtors’ efforts to defend

confirmation of the Amended Plan, the possibility exists that the UCC and the Debtors will not

uniformly align on matters of appellate strategy, including matters pertaining to the UCC

Settlement and UCC Allocation. For instance, the UCC and the Debtors have already taken

differing positions on aspects of the Motion for Stay. Thus, the UCC must be a party to the Appeal

to independently evaluate any process from its perspective as an estate fiduciary representing

General Unsecured Creditors. Additionally, to the extent the Debtors and Sanofi enter into future

settlement discussions, it is imperative the UCC be “at the table.” Only by playing an active role

in the shaping of any settlement proposal, as opposed to merely awaiting a final resolution, can the

UCC ensure that any such settlement proposal protects the interests of the General Unsecured

Creditors.




                                                13
Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 14 of 16 PageID #: 84744




       36.     Intervention Was Permitted in the Bankruptcy Court. As noted above, the UCC is

an estate fiduciary, representing the interests of the Class 6 Creditors. Moreover, the UCC has

express statutory authority pursuant to section 1109(b) of the Bankruptcy Code to raise, appear

and be heard “on any issue” in the Chapter 11 Cases. As noted, supra, the UCC has been an active

participant in all aspects of the Chapter 11 Cases, including on all matters related to confirmation

of the Amended Plan, the UCC Settlement and UCC Allocation.

       37.     Intervening at the Current Stage. The UCC is seeking intervention now, following

active participation at confirmation, only because Sanofi has declined to name the UCC as an

appellee, as good practice recommends. “Even though courts have declined to require the

appellant to name each appellee in the notice of appeal, we do not think it is good legal practice to

fail to do so.” House v. Belford, 956 F.2d 711, 717 (7th Cir. 1992). Bankruptcy Rule 8013(g)

permits intervention within 30 days of the docketing, and the Motion has been filed within this

time period. Moreover, to date, no substantive activity has occurred on the merits since docketing

of the Appeal and, in fact, the UCC has actively engaged with Sanofi and other appealing creditors

regarding legal briefing in this and other related appeals.

       38.     Participation as Amicus Curiae is Inadequate. Participating merely as amicus

curiae would not afford the UCC the ability to protect its significant economic interests in this

Appeal. Bankruptcy Rule 8017 places significant limitations on the involvement of amici curiae.

An amicus curiae is not a party to the litigation, and therefore, its standing to appeal any decision

by this Court, if necessary, may be questioned. Further, the ability of amici curiae to file any

substantive motions, such as a motion to dismiss, may be limited. As an estate fiduciary and

statutory party in interest authority under section 1109(b) of the Bankruptcy Code with a

significant economic interest in the outcome of this Appeal, the UCC should be permitted to



                                                 14
Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 15 of 16 PageID #: 84745




participate in every aspect of this Appeal, both substantively and procedurally, without any

limitations that could be imposed on parties who are participating as amici curiae.

       39.     Based upon the foregoing, the UCC respectfully submits that Bankruptcy Rule

8013(g) is satisfied, and that the relief requested herein is appropriate under the circumstances and

should be granted.

                              LOCAL RULE 7.1.1. STATEMENT

       40.     Pursuant to Rule 7.1.1. of the Local Rules of Civil Procedure and Procedure of the

United States District Court for the District of Delaware, the undersigned counsel to the UCC has

discussed and/or corresponded with counsel to Sanofi and counsel to the Debtors regarding this

Motion. The undersigned counsel to the UCC understands from counsel to Sanofi that it will likely

file a limited objection and/or reservation of rights and from counsel to the Debtors that they do

not object to the Motion.




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Case 1:22-cv-00216-TLA Document 5 Filed 03/21/22 Page 16 of 16 PageID #: 84746




       WHEREFORE, the UCC respectfully requests that the Court enter an order granting it

leave to intervene as appellee and granting such other relief as is just and proper.

Dated: March 21, 2022
       Wilmington, Delaware                           /s/ Jamie L. Edmonson
                                                      Natalie D. Ramsey (No. 5378)
                                                      Jamie L. Edmonson (No. 4247)
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                                                 16
